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     Attorney for Defendant
 5
                          IN THE UNITED STATES DISTRICT COURT
 6
                                    DISTRICT OF ARIZONA
 7
     United States of America,              )
 8                                          )           NO: CR-11-731-02 PHX FJM
                Plaintiff,                  )
 9                                          )
           vs.                              )           DEFENDANT’S PROPOSED
10                                          )           JURY INSTRUCTIONS
     Artemio Pena-Torrecillas,              )
11                                          )
                Defendant.                  )
12   ______________________________________ )
13          Defendant, by and through his attorney undersigned, hereby respectfully
14
     submits the following jury instructions from the 9th Circuit Model Criminal Jury
15

16   Instructions.
17          ST 4.11 EYE WITNESS IDENTIFICATION
18
            ST 6.10 MERE PRESENCE
19

20          ST 8.22 MULTIPLE CONSPIRACIES
21          DATED this 9th day of May, 2013.
22
                                                 /s/Cameron A. Morgan
23                                               Cameron A. Morgan
                                                 Attorney for Defendant
24

25   FILED electronically (CM-ECF) on this 9th
     day of May, 2013, with:
26
     Clerk of Court
27   United States District Court
     Phoenix, Arizona
     Copy of the foregoing e-mailed
                                                        Case 2:11-cr-00731-SRB Document 414 Filed 05/09/13 Page 2 of 5




                                                 1   this 9th day of May, 2013, to:
                                                 2   Honorable Susan Bolton
                                                     bolton_chambers@azd.uscourts.gov
                                                 3
                                                     AUSA Jonell L. Lucca
                                                 4   jonell.lucca@usdoj.gov
                                                 5
                                                     BY:/s/Dawn-Marie Kenney
                                                 6

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                                                 1                       4.11 EYEWITNESS IDENTIFICATION
                                                 2   You have heard testimony of eyewitness identification. In deciding how much weight
                                                     to give to this testimony, you may consider the various factors mentioned in these
                                                 3   instructions concerning credibility of witnesses.
                                                 4   In addition to those factors, in evaluating eyewitness identification testimony, you
                                                     may also consider:
                                                 5
                                                     (1) the capacity and opportunity of the eyewitness to observe the offender based upon
                                                 6   the length of time for observation and the conditions at the time of observation,
                                                     including lighting and distance;
                                                 7
                                                     (2) whether the identification was the product of the eyewitness’s own recollection or
                                                 8   was the result of subsequent influence or suggestiveness;
                                                 9   (3) any inconsistent identifications made by the eyewitness;
                                                10   (4) the witness’s familiarity with the subject identified;
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                                                11   (5) the strength of earlier and later identifications;
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                                                12   (6) lapses of time between the event and the identification[s]; and
                         (480) 990-9507




                                                13   (7) the totality of circumstances surrounding the eyewitness’s identification.
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                                                                                  6.10 MERE PRESENCE
                                                 2
                                                     Mere presence at the scene of a crime or mere knowledge that a crime is being
                                                 3   committed is not sufficient to establish that the defendant committed the crime of
                                                     possession of methamphetamine for distribution. The defendant must be a participant
                                                 4   and not merely a knowing spectator. The defendant’s presence may be considered by
                                                     the jury along with other evidence in the case.
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                                                 1
                                                 2                           8.22 MULTIPLE CONSPIRACIES
                                                 3   You must decide whether the conspiracy charged in the indictment existed, and, if it
                                                     did, who at least some of its members were. If you find that the conspiracy charged
                                                 4   did not exist, then you must return a not guilty verdict, even though you may find that
                                                     some other conspiracy existed. Similarly, if you find that any defendant was not a
                                                 5   member of the charged conspiracy, then you must find that defendant not guilty, even
                                                     though that defendant may have been a member of some other conspiracy.
                                                 6

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